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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA


ANDREW CHAMBERS, individually and on
behalf of all others similarly situated,
                                                      Case No. 6:17-cv-01449-GAP-TBS
                       Plaintiff,

v.                                                    NOTICE OF SETTLEMENT

SHINE, INC., a Delaware corporation,

                       Defendant.



                                    NOTICE OF SETTLEMENT

       Plaintiff Andrew Chambers (“Plaintiff” or “Chambers”) hereby provides notice that

the Parties have reached a settlement in this case and states as follows:

       1. On August 4, 2017, Plaintiff filed the instant case alleging violations of the

           Telephone Consumer Protection Act, 42 U.S.C. § 227 et seq. (“TCPA”). (See Dkt.

           1.)

       2. Plaintiff and Defendant Shine, Inc. (“Defendant” or “Shine”) have engaged in

           settlement discussions and have reached an agreement to resolve the individual
           claims brought by Plaintiff. The claims of any putative, unidentified class

           members will be dismissed without prejudice while Plaintiff’s claims will be

           dismissed with prejudice.

       3. The Parties are presently working to finalize a settlement agreement and believe a

           Notice of Dismissal will be filed within thirty (30) days.




                                              Respectfully Submitted,



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December 29, 2017

                                     WOODROW & PELUSO, LLC

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on December 29, 2017 I served the above and
foregoing papers by causing such paper to be filed with the Court using the Court’s electronic
filing system, which will send copies of such paper to all counsel of record.


December 29, 2017                    By: /s/ Patrick H. Peluso




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